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IN THE UNITED STATES DISTRICT COURT
FOR .THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
JAsoN MORRIS, et al., )
)
) Case No. 2016-cv-7002

Plaintiffs, )

) Honorable Thomas M. Durkin
v. )
)
SEAFOOD JUNCTION, INC. et al., )
)
Defendants. }

JOINT MOTION FOR APPROVAL OF SETTLEN[ENT AGREEMENT
Plaintift` Sarita Norman, proceeding pro se, (“PlaintiffNonnan”] and Defendants Seat`ood

Junetion, Ine., Seafood lunetion #3, Inc., Seafood .Tunction #4, lnc., Layla 08, Inc., Fou.r Brothers
1, Ine., Eyad A]hjouj, Mohamrnad Jalah, and lman Abdelghani (collectively referred to as the
“Parties”)`, through the undersigned eounsel, seek approval of their settlement in this action
brought under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”). The Parties
respectftu submit that the terms of the settlement are fajr, reasonable, and resolve a bona fide
dispute between the Parties. In support of their motion the Parties state as follows:

l. On March 31_, 2017, Plaintiff Norman joined this action by asserting claims
against Defendants pursuant to the FLSA and the Illinois Minimum Wage Aot. Dkt. 16.
Plaintit`f Jason Mon'is is also a party to this action. Tl:lis motion is not intended to affect the
pending claims of Plaintitl"` Jason Morris.

2. Afcer Plaintiff Nonnan joined this case in March, Plaintif'f Norman and the
Defendants reached a settlement of her claims based on anne-length discussions between
Piaintit`f Norman and the individual Defendants. The Parties’ agreement only covers the claims

asserted by Plaintift` Norman and does not encompass claims asserted by Plaintift` Morris. Nor

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does this agreement affect the scope of claims that Flaintiff Morris may seek to represent as a
Rule 23 class plaintiff

3. Plaintitf Norrnan alleged that her claims encompass only a three~week period of
employment in Which she alleges that she Was denied some or all of the overthne compensation
that she claims to have earned. Plaintiff Norman has access to her pay stubs and is aware of the
hours that she worked during the time period at issue. Accordingly, she has sufficient
information available to her in order to evaluate the value of her claims The Parties have
reached a resolution of Plaintift`s claims for $3,000, inclusive of attorneys’ fees and costs.
Plaintiil` has attested by way of declaration that this amount exceeds the value of the unpaid
overtime and liquidated damages that she might recover in this action under the FLSA. A copy
of her declaration is attached as Exhibit l.

4. Comt approval of FLSA settlements is necessary to effectuate a valid and
enforceable release of FLSA claims asserted See Walton v. Um'ted Con.s'umers Club, Inc., 786
F.Zd 303, 306 (Tth Cir. 1986). Under the FLSA, employees may settle their claims if the Pa:rties
agree on the terms, the court approves the settlement as “a fair and reasonable resolution of a
bona tide dispute over FLSA provisions." Lyrm ’s Faoa' Srores, Inc. v. United Staz‘es, 679 F.2d
1350, 1355 (llth Cir. 1982). Based upon the foregoing, the Parties request that this Court
review their Settlement Agreement and General Release and approve the same. A copy of the
lSettleraent Agreem¢¢t and General Release is attached as Exhibit 2.

_5. The- settlement was the product of arm’s-length negotiations by the Parties. lt
provides immediate relief to Plaintiff Nonnan and eliminates the inherent risks both sides would
bear if this litigation were to continue Given these circumstances, a presmnption of fairness

should attach to the proposed settlement See L}mn’s Food Srore.s', Inc., 679 P_`.Zd at 1354

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(recognizing that courts rely on the adversary nature of a litigated FLSA case resulting in
settlement as an indication of fairness).

6. Should this matter have continued, the Parties would have conducted discovery,
and potentially filed dispositive motions on at least the following issues: (l) whether Plaintiif
was paid for all hours worked; (2) whether Plaintiff actually worked the hours that she alleged in
the complaint; and (3) whether Defendants willfully violated the FLSA.

7. lf Plaintiff prevailed on her claims, Defendants would be faced with the prospect
of a verdict against them and the obligation to pay attorne'ys’ fees and costs. If Defendants
prevailed, Plaintiff faced dismissal of her claims and no recovery.

8. For all of these reasons, this Court should conclude that the proposed settlement
reflects a fair and reasonable resolution of a bona fide dispute and approve the settlement

9. The Parties request that this Court dismiss this lawsuit with prejudice

10. The Parties will submit a Joint Proposed Order for the Court’s consideration

WHEREFORE, the Parties respectfully request that this Coutt approve their negotiated
Settlernent Agr_‘eement and General Release and dismiss this lawsuit with prejudice with each

party to bear their own fees and costs in accordance with the Settlement Agreement.

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Dated: July 28, 2017

 

Atromeyfor Plainttj`

/sf Peter l Gilles z'e

Peter J. Gillespie

Laner Muchin,' Ltd.

515 N. State Street, Suite 2800
Chieago, IL 60654
pgillespie@lanennuchm corn
(3 12] 467-9800

 

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CERTIFICATE OF SERVICE

I, Peter J. Gillespie, an attorney, hereby certify that on August 29, 2017, l caused to be
served a copy of the foregoing Joint Motion for Approval of _Settlement Agreement, in the
above-captioned matter to be filed with the Clerk of the District Court and served on the parties
of record, including those listed below, by operation of the Court’s CM/ECF electronic filing
system, addressed to:

Pasha Vaziri

Vaziri Law LLC

lll W. Washington St., Suite 1500
_Chicago, IL 60602

(312)690-2610

pvaziri@vazirilawllc.com

A copy of the foregoing has also been served via U.S. First Class Mail and email to:

Sarita Norman

42 N. Menard, Apt. 3A
Chicago, IL 60644
saritanorman@gmail.com

/S/ Peter J. Gillespie
Peter J. Gillespie

